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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

              v.                                 Case No. 2:11-cr-20425


TERRELL MASON,

           Defendant.
_________________________/

                           ORDER STRIKING PRO SE LETTER

       On September 27, 2011, the court received a letter from Defendant Terrell

Mason asking to be released on bail pending his sentencing. The court will strike the

pro se filing because, at the time of the filing, Defendant was represented by counsel.

Thus, all filings must be made by the attorney of record.

       Defendant is not entitled to represent himself while simultaneously represented

by counsel. A criminal defendant has the right to appear pro se or by counsel, a right

protected by both the Sixth Amendment to the United States Constitution and federal

statute. See 28 U.S.C. § 1654 (“In all courts of the United States the parties may plead

and conduct their own cases personally or by counsel . . . .”); see also Faretta v.

California, 422 U.S. 806, 807, 832 (1975); United States v. Daniels, 572 F.2d 535, 540

(5th Cir. 1978); Ennis v. LeFevre, 560 F.2d 1072, 1075 (2d Cir. 1977); United States v.

Williams, 534 F.2d 119, 123 (8th Cir. 1976). This right, however, is disjunctive, thus a

party may choose either to represent himself or to appear through an attorney. There is

no right to “hybrid” representation that would result in simultaneous or alternating self-
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representation and representation by counsel. A person represented by counsel must

rely upon that counsel. See, e.g., United States v. Olson, 576 F.2d 1267, 1269-70 (8th

Cir. 1978); Daniels, 572 F.2d at 540; Ennis, 560 F.2d at 1075; Williams, 534 F.2d at

123; United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975); Move Org. v. City of

Phila., 89 F.R.D. 521, 523 n.1 (E.D. Pa. 1981); United States ex rel. Snyder v. Mack,

372 F. Supp. 1077, 1078-79 (E.D. Pa. 1974); cf. Storseth v. Spellman, 654 F.2d 1349,

1352-53 (9th Cir. 1981) (holding that once counsel is appointed, prisoner has no right to

assistance from inmate writ-writer). In light of this case law, the court will only accept

filings from Defendant’s attorney of record. Accordingly,

         IT IS ORDERED that Defendant’s September 27, 2011 letter [Dkt. # 31] is hereby

STRICKEN from the docket of this court.



                                                          S/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE

Dated: October 14, 2011

I I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 14, 2011, by electronic and/or ordinary mail.

                                                           S/Lisa Wagner
                                                          Case Manager and Deputy Clerk
                                                          (313) 234-5522




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